Case 1:23-cv-00108-LMB-JFA Document 575-1 Filed 04/26/24 Page 1 of 1 PageID# 8408




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.
                                                              No. 1:23-cv-00108-LMB-JFA
    GOOGLE LLC,

                          Defendant.


                                               ORDER

         THIS MATTER is before the Court on Defendant Google LLC’s Motion to Exclude the

  Testimony of Adoria Lim. Upon consideration of the motion, and arguments in support thereof

  and in opposition thereto, and it otherwise appearing proper to do so, it is hereby

         ORDERED that Defendant’s Motion is GRANTED; and it is hereby

         ORDERED that the testimony of Adoria Lim is EXCLUDED.



         ENTERED this __ day of _________, 2024.

  Alexandria, Virginia



                                                               _____________________________
                                                               Leonie M. Brinkema
                                                               United States District Judge
